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8                         UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
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10   VIANNE JUANICIA CARRILLO,                )   Case No.: 2:21-cv-02996-PD
                                              )
11                 Plaintiff,                 )   ORDER AWARDING EQUAL
                                              )   ACCESS TO JUSTICE ACT
12         vs.                                )   ATTORNEY FEES AND EXPENSES
                                              )   PURSUANT TO 28 U.S.C. § 2412(d)
13   KILOLO KIJAKAZI,                         )   AND COSTS PURSUANT TO 28
     Acting Commissioner of Social            )   U.S.C. § 1920
14   Security,                                )
                                              )
15                 Defendant                  )
                                              )
16
17         Based upon the parties’ Stipulation for the Award and Payment of Equal
18   Access to Justice Act Fees, Costs, and Expenses:
19         IT IS ORDERED that fees and expenses in the amount of $1,300.00 as
20   authorized by 28 U.S.C. § 2412, and no costs authorized by 28 U.S.C. § 1920, be
21   awarded subject to the terms of the Stipulation.
22   DATE:       September 28, 2021
23                              ___________________________________
                                THE HONORABLE PATRICIA DONAHUE
24                              UNITED STATES MAGISTRATE JUDGE
25
26

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1    Respectfully submitted,
2    LAW OFFICES OF LAWRENCE D. ROHLFING
3          /s/ Lawrence D. Rohlfing
     _________________________
4    Lawrence D. Rohlfing
     Attorney for plaintiff Vianne Juanicia Carrillo
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